        Case 3:19-cv-06361-RS         Document 1       Filed 10/04/19    Page 1 of 20




 1 Laurence M. Rosen, Esq. (SBN 219683)
   THE ROSEN LAW FIRM, P.A.
 2 355 South Grand Avenue, Suite 2450
 3 Los Angeles, CA 90071
   Telephone: (213) 785-2610
 4 Facsimile: (213) 226-4684
   Email: lrosen@rosenlegal.com
 5
 6 Counsel for Plaintiff
 7                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 8
 9   BENJAMIN STIRRATT, Individually and on            Case No:
     behalf of all others similarly situated,
10                                                     CLASS ACTION COMPLAINT FOR
            Plaintiff,                                 VIOLATIONS OF THE FEDERAL
11
                                                       SECURITIES LAWS
12          v.
                                                       JURY TRIAL DEMANDED
13   UBER TECHNOLOGIES, INC., DARA
     KHOSROWSHAHI, NELSON CHAI, GLEN
14
     CEREMONY, RONALD SUGAR, URSULA
15   BURNS, GARRETT CAMP, MATT COHLER,
     RYAN GRAVES, ARIANNA HUFFINGTON,
16   TRAVIS KALANICK, WAN LING
     MARTELLO, H.E. YASIR AL-RUMAYYAN,
17
     JOHN THAIN, DAVID TRUJILLO, MORGAN
18   STANLEY & CO. LLC, GOLDMAN SACHS
     & CO. LLC, MERRILL LYNCH, PIERCE,
19   FENNER & SMITH INCORPORATED,
20   BARCLAYS CAPITAL MARKETS, LLC,
     SUNTRUST ROBINSON HUMPHREY, INC.,
21   DEUTSCHE BANK SECURITIES INC., HSBC
     SECURITIES (USA) INC., SMBC NIKKO
22   SECURITIES AMERICA, INC., MIZUHO
23   SECURITIES USA LLC, NEEDHAM &
     COMPANY, LLC, LOOP CAPITAL
24   MARKETS LLC, SIEBERT CISNEROS
     SHANK & CO., L.L.C., ACADEMY
25   SECURITIES, INC., BTIG, LLC,
26   CANACCORD GENUITY LLC, CASTLEOAK
     SECURITIES, L.P.,
27
28   (Additional Defendants on Next Page)

                                                  -1-
                    Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS         Document 1       Filed 10/04/19      Page 2 of 20




      COWEN AND COMPANY, LLC,
 1
      MACQUARIE CAPITAL (USA) INC.,
 2    MISCHLER FINANCIAL GROUP, INC.,
      OPPENHEIMER & CO. INC., RAYMOND
 3    JAMES & ASSOCIATES, INC., WILLIAM
      BLAIR & COMPANY, L.L.C., THE
 4
      WILLIAMS CAPITAL GROUP, L.P., AND
 5    TPG CAPITAL BD, LLC,

 6           Defendants.
 7
                   Plaintiff Benjamin Stirratt (“Plaintiff”), individually and on behalf of all other
 8
     persons similarly situated, by Plaintiff’s undersigned attorney, alleges the following based upon
 9 personal knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all
10 other matters based on the investigation conducted by and through Plaintiff’s attorneys, which
11 included, among other things, a review of U.S. Securities and Exchange Commission (“SEC”)
12 filings by Uber Technologies, Inc. (“Uber” or the “Company”), as well as media and analyst reports
13 about the Company and Company press releases. Plaintiff believes that substantial additional
14 evidentiary support will exist for the allegations set forth herein.
                                      NATURE OF THE ACTION
15
            1.     This is a federal securities class action on behalf of a class consisting of all persons
16
     and entities other than Defendants who purchased or otherwise acquired Uber securities pursuant
17
     and/or traceable to Uber’s Registration Statement (defined below) issued in connection with Uber’s
18
     May 10, 2019 initial public stock offering (the “IPO” or “Offering”), seeking to recover
19
     compensable damages caused by Defendants’ violations of the Securities Act of 1933 (the
20 “Securities Act”).
21          2.     In May 2019, Defendants held the IPO, issuing approximately 180 million shares of
22 common stock to the investing public at $45.00 per share, pursuant to the Registration Statement.
23          3.     By the commencement of this action, Uber’s shares trade significantly below its IPO
24 price. As a result, investors were damaged.
25                                   JURISDICTION AND VENUE

26          4.     The claims alleged herein arise under and pursuant to Sections 11, 12(a)(2) and 15 of
27 the Securities Act, 15 U.S.C. §§77k, 771(a)(2) and 77o.
28

                                                  -2-
                    Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS           Document 1      Filed 10/04/19    Page 3 of 20




            5.      This Court has jurisdiction over the subject matter of this action pursuant to 28
 1
     U.S.C. §1331 and Section 22 of the Securities Act (15 U.S.C. §77v).
 2
            6.      Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15
 3
     U.S.C. §78aa) and 28 U.S.C. §1391(b) as Defendants conduct business and the Company is
 4
     headquartered in this Judicial District.
 5          7.      In connection with the acts, conduct and other wrongs alleged in this Complaint,
 6 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
 7 including but not limited to, the United States mail, interstate telephone communications and the
 8 facilities of the national securities exchange.
 9                                                   PARTIES
10          8.      Plaintiff, as set forth in the accompanying certification incorporated by reference
11 herein, purchased Uber shares pursuant and/or traceable to the IPO and was damaged thereby.
12          9.      Defendant Uber, based in San Francisco, California, purports to be a technology

13 company that primarily facilitates access to rides and meals on demand. Uber's shares are listed and
   traded on the New York Stock Exchange (“NYSE”) under the ticker "UBER." The Company is
14
   incorporated in Delaware and its principal executive offices are located at 1455 Market Street, 4th
15
   Floor, San Francisco, CA 94103.
16
           10.    At the time of the Offering, Defendant Dara Khosrowshahi ("Khosrowshahi") was
17
   serving as Chief Executive Officer and a member of Uber's Board of Directors (the "Board")
18 Defendant Khosrowshahi participated in the preparation of and signed the Registration Statement.
19          11.     At the time of the Offering, Defendant Nelson Chai ("Chai") was serving as Chief
20 Financial Officer. Defendant Chai participated in the preparation of and signed the Registration
21 Statement.
22          12.     At the time of the Offering, Defendant Glen Ceremony ("Ceremony") was serving as

23 Chief Accounting Officer and Global Corporate Controller. Defendant Ceremony participated in
   the preparation of and signed the Registration Statement.
24
           13.    At the time of the Offering, Defendant Ronald Sugar ("Sugar") was serving as
25
   Chairperson of the Board. Defendant Sugar participated in the preparation of and signed the
26
   Registration Statement.
27
28

                                                   -3-
                     Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS         Document 1       Filed 10/04/19     Page 4 of 20




            14.    At the time of the Offering, Defendant Ursula Burns ("Burns") was serving as a
 1
     director on the Board. Defendant Burns participated in the preparation of and signed the
 2
     Registration Statement.
 3
            15.    At the time of the Offering, Defendant Garrett Camp ("Camp"), a co-founder of the
 4
     Company, was serving as a director on the Board. Defendant Camp participated in the
 5
     preparation of and signed the Registration Statement.
 6
            16.    At the time of the Offering, Defendant Matt Cohler ("Cohler") was serving as a
 7 director on the Board. Defendant Cohler participated in the preparation of and signed the
 8 Registration Statement.
 9          17.    At the time of the Offering, Defendant Ryan Graves ("Graves") was serving as a
10 director on the Board. Defendant Graves participated in the preparation of and signed the
11 Registration Statement
12          18.    At the time of the Offering, Defendant Arianna Huffington ("Huffington") was

13 serving as a director of the Board. Defendant Huffington participated in the preparation of and
   signed the Registration Statement
14
           19.    At the time of the Offering, Defendant Travis Kalanick ("Kalanick"), a co-founder
15
   of the Company, was serving as a director of the Board. Defendant Kalanick participated in the
16
   preparation of and signed the Registration Statement
17
           20.    At the time of the Offering, Defendant Wan Ling Martello ("Martello") was
18
   serving as a director of the Board. Defendant Martello participated in the preparation of and signed
19 the Registration Statement.
20          21.    At the time of the Offering, Defendant H.E. Yasir Al-Rumayyan ("Al-Rumayyan")
21 was serving as a director of the Board. Defendant Al-Rumayyan participated in the preparation of
22 and signed the Registration Statement.
23          22.    At the time of the Offering, Defendant John Thain ("Thain") was serving as a

24 director of the Board. Defendant Thain participated in the preparation of and signed the Registration
25 Statement.
            23.    At the time of the Offering, Defendant David Trujillo ("Trujillo") was serving as a
26
     director of the Board. Defendant Trujillo participated in the preparation of and signed the
27
     Registration Statement.
28

                                                  -4-
                    Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS          Document 1       Filed 10/04/19     Page 5 of 20




            24.     The Defendants named in ¶¶10-23 are referred to herein as the “Individual
 1
     Defendants.” The Individual Defendants each signed the Registration Statement, solicited the
 2
     investing public to purchase securities issued pursuant thereto, hired and assisted the underwriters,
 3
     planned and contributed to the IPO and Registration Statement, and attended road shows and other
 4
     promotions to meet with and present favorable information to potential Uber investors, all
 5 motivated by their own and the Company’s financial interests.
 6        25.    The following underwriters were also instrumental in soliciting and making
 7 the stock offered in the IPO available to the investing public:
 8          26.     Defendant Morgan Stanley & Co. LLC ("Morgan Stanley") was an
 9 underwriter of the Company's Offering, serving as a financial advisor for and assisting in
10 the preparation and dissemination of the Company's false and misleading Offering
     Documents. Morgan Stanley acted as a representative of all the underwriters. Morgan Stanley
11
     also participated in conducting and promoting the roadshow for the Offering and paying for the
12
     expenses of the Individual Defendants who participated in the roadshow, including lodging and
13
     travel, among other expenses. Morgan Stanley's participation in the solicitation of the Offering
14
     was motivated by its financial interests.
15                  Defendant Goldman Sachs & Co. LLC ("Goldman Sachs") was an underwriter
            27.
16 of the Company's Offering, serving as a financial advisor for and assisting in the preparation
17 and dissemination of the Company's false and misleading Offering Documents. Goldman
18 Sachs acted as a representative of all the underwriters. Goldman Sachs also participated in
19 conducting and promoting the roadshow for the Offering and paying for the expenses of the
20 Individual Defendants who participated in the roadshow, including lodging and travel, among
21 other expenses. Goldman Sachs' participation in the solicitation of the Offering was motivated
     by its financial interests.
22
            28.     Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated ("Merrill
23
     Lynch") was an underwriter of the Company's Offering, serving as a financial advisor for and
24
     assisting in the preparation and dissemination of the Company's false and misleading Offering
25
     Documents. Merrill Lynch also participated in conducting and promoting the roadshow for the
26 Offering and paying for the expenses of the Individual Defendants who participated in the
27 roadshow, including lodging and travel, among other expenses. Merrill Lynch's participation in
28 the solicitation of the Offering was motivated by its financial interests.

                                                   -5-
                     Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS       Document 1       Filed 10/04/19    Page 6 of 20




           29.    Defendant Barclays Capital Inc. ("Barclays") was an underwriter of the
 1
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
 2
     dissemination of the Company's false and misleading Offering Documents. Barclays also
 3
     participated in conducting and promoting the roadshow for the Offering and paying for the
 4
     expenses of the Individual Defendants who participated in the roadshow, including lodging
 5 and travel, among other expenses. Barclays' participation in the solicitation of the Offering was
 6 motivated by its financial interests.
 7         30.    Defendant Citigroup Global Markets Inc. ("Citigroup") was an underwriter of
 8 the Company's Offering, serving as a financial advisor for and assisting in the preparation
 9 and dissemination of the Company's false and misleading Offering Documents. Citigroup
10 also participated in conducting and promoting the roadshow for the Offering and paying
   for the expenses of the Individual Defendants who participated in the roadshow, including
11
   lodging and travel, among other expenses. Citigroup's participation in the solicitation of
12
   the Offering was motivated by its financial interests.
13
          31.    Defendant Allen & Company LLC ("Allen & Company") was an underwriter
14
   of the Company's Offering, serving as a financial advisor for and assisting in the
15
   preparation and dissemination of the Company's false and misleading Offering Documents.
16 Allen & Company also participated in conducting and promoting the roadshow for the
17 Offering and paying for the expenses of the Individual Defendants who participated in the
18 roadshow, including lodging and travel, among other expenses. Allen & Company's
19 participation in the solicitation of the Offering was motivated by its financial interests.
20         32.    Defendant RBC Capital Markets, LLC ("RBC Capital") was an underwriter

21 of the Company's Offering, serving as a financial advisor for and assisting in the
   preparation and dissemination of the Company's false and misleading Offering Documents.
22
   RBC Capital also participated in conducting and promoting the roadshow for the Offering
23
   and paying for the expenses of the Individual Defendants who participated in the
24
   roadshow, including lodging and travel, among other expenses. RBC Capital's
25
   participation in the solicitation of the Offering was motivated by its financial interests.
26        33.    Defendant SunTrust Robinson Humphrey, Inc. ("SunTrust") was an
27 underwriter of the Company's Offering, serving as a financial advisor for and assisting in
28 the preparation and dissemination of the Company's false and misleading Offering

                                                 -6-
                   Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS          Document 1      Filed 10/04/19    Page 7 of 20




     Documents. SunTrust also participated in conducting and promoting the roadshow for the
 1
     Offering and paying for the expenses of the Individual Defendants who participated in the
 2
     roadshow, including lodging and travel, among other expenses. SunTrust's participation in
 3
     the solicitation of the Offering was motivated by its financial interests.
 4
            34.     Defendant Deutsche Bank Securities Inc. ("Deutsche Bank") was an underwriter
 5 of the Company's Offering, serving as a financial advisor for and assisting in the preparation
 6 and dissemination of the Company's false and misleading Offering Documents. Deutsche Bank
 7 also participated in conducting and promoting the roadshow for the Offering and paying for the
 8 expenses of the Individual Defendants who participated in the roadshow, including lodging and
 9 travel, among other expenses. Deutsche Bank's participation in the solicitation of the Offering
10 was motivated by its financial interests.
            35.     Defendant HSBC Securities (USA) Inc. ("HSBC") was an underwriter of the
11
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
12
     dissemination of the Company's false and misleading Offering Documents. HSBC also
13
     participated in conducting and promoting the roadshow for the Offering and paying for the
14
     expenses of the Individual Defendants who participated in the roadshow, including lodging and
15 travel, among other expenses. HSBC's participation in the solicitation of the Offering was
16 motivated by its financial interests.
17          36.     Defendant SMBC Nikko Securities America, Inc. ("SMBC") was an underwriter
18 of the Company's Offering, serving as a financial advisor for and assisting in the preparation
19 and dissemination of the Company's false and misleading Offering Documents. SMBC also
20 participated in conducting and promoting the roadshow for the Offering and paying for the
21 expenses of the Individual Defendants who participated in the roadshow, including lodging and
     travel, among other expenses. SMBC's participation in the solicitation of the Offering was
22
     motivated by its financial interests.
23
            37.     Defendant Mizuho Securities USA LLC ("Mizuho") was an underwriter of the
24
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
25
     dissemination of the Company's false and misleading Offering Documents. Mizuho also
26 participated in conducting and promoting the roadshow for the Offering and paying for the
27 expenses of the Individual Defendants who participated in the roadshow, including lodging and
28

                                                   -7-
                     Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS          Document 1      Filed 10/04/19    Page 8 of 20




     travel, among other expenses. Mizuho's participation in the solicitation of the Offering was
 1
     motivated by its financial interests.
 2
            38.     Defendant Needham & Company, LLC ("Needham") was an underwriter of the
 3
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
 4
     dissemination of the Company's false and misleading Offering Documents. Needham also
 5 participated in conducting and promoting the roadshow for the Offering and paying for the
 6 expenses of the Individual Defendants who participated in the roadshow, including lodging and
 7 travel, among other expenses. Needham's participation in the solicitation of the Offering was
 8 motivated by its financial interests.
 9          39.     Defendant Loop Capital Markets LLC ("Loop") was an underwriter of the

10 Company's Offering, serving as a financial advisor for and assisting in the preparation and
   dissemination of the Company's false and misleading Offering Documents. Loop also
11
   participated in conducting and promoting the roadshow for the Offering and paying for the
12
   expenses of the Individual Defendants who participated in the roadshow, including lodging
13
   and travel, among other expenses. Loop's participation in the solicitation of the Offering was
14
   motivated by its financial interests.
15                Defendant Siebert Cisneros Shank & Co., L.L.C. ("Siebert Cisneros") was an
           40.
16 underwriter of the Company's Offering, serving as a financial advisor for and assisting in the
17 preparation and dissemination of the Company's false and misleading Offering Documents.
18 Siebert Cisneros also participated in conducting and promoting the roadshow for the Offering
19 and paying for the expenses of the Individual Defendants who participated in the roadshow,
20 including lodging and travel, among other expenses. Siebert Cisneros participation in the
21 solicitation of the Offering was motivated by its financial interests.
            41.     Defendant Academy Securities, Inc. ("Academy Securities") was an underwriter
22
     of the Company's Offering, serving as a financial advisor for and assisting in the preparation
23
     and dissemination of the Company's false and misleading Offering Documents. Academy
24
     Securities also participated in conducting and promoting the roadshow for the Offering and
25
   paying for the expenses of the Individual Defendants who participated in the roadshow,
26 including lodging and travel, among other expenses. Academy Securities' participation in the
27 solicitation of the Offering was motivated by its financial interests.
28

                                                   -8-
                     Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS          Document 1      Filed 10/04/19        Page 9 of 20




            42.     Defendant BTIG, LLC ("BTIG") was an underwriter of the Company's Offering,
 1
     serving as a financial advisor for and assisting in the preparation and dissemination of the
 2
     Company's false and misleading Offering Documents. BTIG also participated in conducting
 3
     and promoting the roadshow for the Offering and paying for the expenses of the Individual
 4
     Defendants who participated in the roadshow, including lodging and travel, among other
 5
     expenses. BTTG's participation in the solicitation of the Offering was motivated by its financial
 6 interests.
 7          43.     Defendant Canaccord Genuity LLC ("Canaccord Genuity") was an underwriter
 8 of the Company's Offering, serving as a financial advisor for and assisting in the preparation
 9 and dissemination of the Company's false and misleading Offering Documents. Canaccord
10 Genuity also participated in conducting and promoting the roadshow for the Offering and
11 paying for the expenses of the Individual Defendants who participated in the roadshow,
     including lodging and travel, among other expenses. Canaccord Genuity's participation in the
12
     solicitation of the Offering was motivated by its financial interests.
13
            44.     Defendant CastleOak Securities, L.P. ("CastleOak") was an underwriter of the
14
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
15
     dissemination of Company's false and misleading Offering Documents. CastleOak also
16
     participated in conducting and the promoting the roadshow for the Offering and paying for the
17 expenses of the Individual Defendants who participated in the roadshow, including          lodging
18 and travel, among other expenses. CastleOak's participation in the solicitation of the Offering
19 was motivated by its financial interests.
20          45.     Defendant Cowen and Company, LLC ("Cowen") was an underwriter of the

21 Company's Offering, serving as a financial advisor for and assisting in the preparation and
22 dissemination of the Company's false and misleading Offering Documents. Cowen also
     participated in conducting and promoting the roadshow for the Offering and paying for the
23
     expenses of the Individual Defendants who participated in the roadshow, including lodging and
24
     travel, among other expenses. Cowen's participation in the solicitation of the Offering was
25
     motivated by its financial interests.
26
            46.     Defendant Evercore Group L.L.C. ("Evercore") was an underwriter of the
27 Company's Offering, serving as a financial advisor for and assisting in the preparation and
28 dissemination of the Company's false and misleading Offering Documents. Evercore also

                                                   -9-
                     Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS          Document 1     Filed 10/04/19     Page 10 of 20




     participated in conducting and promoting the roadshow for the Offering and paying for the
 1
     expenses of the Individual Defendants who participated in the roadshow, including lodging and
 2
     travel, among other expenses. Evercore's participation in the solicitation of the Offering was
 3
     motivated by its financial interests.
 4
            47.    Defendant JMP Securities LLC ("JMP Securities") was an underwriter of the
 5 Company's Offering, serving as a financial advisor for and assisting in the preparation and
 6 dissemination of the Company's false and misleading Offering Documents. JMP Securities also
 7 participated in conducting and promoting the roadshow for the Offering and paying for the
 8 expenses of the Individual Defendants who participated in the roadshow, including lodging and
 9 travel, among other expenses. JMP Securities' participation in the solicitation of the Offering
10 was motivated by its financial interests.
            48.    Defendant Macquarie Capital (USA) Inc. ("Macquarie") was an underwriter of
11
     the Company's Offering, serving as a financial advisor for and assisting in the preparation and
12
     dissemination of the Company's false and misleading Offering Documents. Macquarie also
13
     participated in conducting and promoting the roadshow for the Offering and paying for the
14
     expenses of the Individual Defendants who participated in the roadshow, including lodging and
15
     travel, among other expenses. Macquarie's participation in the solicitation of the Offering was
16 motivated by its financial interests.
17          49.    Defendant Mischler Financial Group, Inc. ("Mischler") was an underwriter of the
18 Company's Offering, serving as a financial advisor for and assisting in the preparation and
19 dissemination of the Company's false and misleading Offering Documents. Mischler also
20 participated in conducting and promoting the roadshow for the Offering and paying for the
21 expenses of the Individual Defendants who participated in the roadshow, including lodging and
     travel, among other expenses. Mischler's participation in the solicitation of the Offering was
22
     motivated by its financial interests.
23
            50.    Defendant Oppenheimer & Co. Inc. ("Oppenheimer") was an underwriter of the
24
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
25
     dissemination of the Company's false and misleading Offering Documents. Oppenheimer also
26 participated in conducting and promoting the roadshow for the Offering and paying for the
27 expenses of the Individual Defendants who participated in the roadshow, including lodging and
28

                                                  - 10 -
                    Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS         Document 1       Filed 10/04/19       Page 11 of 20




     travel, among other expenses. Oppenheimer’s participation in the solicitation of the
 1
     Offering was motivated by its financial interest.
 2
            51.    Defendant Raymond James & Associates, Inc. ("Raymond James") was an
 3
     underwriter of the Company's Offering, serving as a financial advisor for and assisting in the
 4
     preparation and dissemination of the Company's false and misleading Offering Documents.
 5 Raymond James also participated in conducting and promoting the roadshow for the Offering
 6 and paying for the expenses of the Individual Defendants who participated in the roadshow,
 7 including lodging and travel, among other expenses. Raymond James' participation in the
 8 solicitation of the Offering was motivated by its financial interests.
 9          52.    Defendant William Blair & Company, L.L.C. ("William Blair") was an

10 underwriter of the Company's Offering, serving as a financial advisor for and assisting in the
11 preparation and dissemination of the Company's false and misleading Offering Documents.
     William Blair also participated in conducting and promoting the roadshow for the Offering and
12
     paying for the expenses of the Individual Defendants who participated in the roadshow,
13
     including lodging and travel, among other expenses. William Blair's participation in the
14
     solicitation of the Offering was motivated by its financial interests.
15
            53.    Defendant The Williams Capital Group, L.P. ("Williams Capital") was an
16 underwriter of the Company's Offering, serving as a financial advisor for and assisting in the
17 preparation and dissemination of the Company's false and misleading Offering Documents.
18 Williams Capital also participated in conducting and promoting the roadshow for the Offering
19 and paying for the expenses of the Individual Defendants who participated in the roadshow,
20 including lodging and travel, among other expenses. Williams Capital's participation in the
21 solicitation of the Offering was motivated by its financial interests.
            54.    Defendant TPG Capital BD, LLC ("TPG Capital") was an underwriter of the
22
     Company's Offering, serving as a financial advisor for and assisting in the preparation and
23
     dissemination of the Company's false and misleading Offering Documents. TPG Capital also
24
     participated in conducting and promoting the roadshow for the Offering and paying for the
25
   expenses of the Individual Defendants who participated in the roadshow, including lodging
26 and travel, among other expenses. TPG Capital's participation in the solicitation of the
27 Offering was motivated by its financial interests.
28

                                                  - 11 -
                    Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS          Document 1       Filed 10/04/19     Page 12 of 20




            55.     Defendants listed in ¶¶26-54 are collectively referred to herein as the “Underwriter
 1
     Defendants.”
 2
            56.     Pursuant to the Securities Act, the Underwriter Defendants are liable for the false
 3
     and misleading statements in the Registration Statement as follows:
 4
             (a)    The Underwriter Defendants are investment banking houses that specialize in,
 5   among other things, underwriting public offerings of securities. They served as the underwriters of
 6   the IPO and shared millions of dollars in fees collectively. The Underwriter Defendants arranged a
 7   roadshow prior to the IPO during which they, and representatives from Uber, met with potential
 8   investors and presented highly favorable information about the Company, its operations and its
 9   financial prospects.

10           (b)    Representatives of the Underwriter Defendants also assisted Uber and the
     Individual Defendants in planning the IPO, and purportedly conducted an adequate and reasonable
11
     investigation into the business and operations of Uber, an undertaking known as a “due diligence”
12
     investigation. The due diligence investigation was required of the Underwriter Defendants in order
13
     to engage in the IPO. During the course of their “due diligence,” the Underwriter Defendants had
14
     continual access to internal, confidential, current corporate information concerning Uber’s most up-
15 to-date operational and financial results and prospects.
16          (c)    In addition to availing themselves of virtually unlimited access to internal corporate
17 documents, agents of the Underwriter Defendants met with Uber’s lawyers, management and top
18 executives and engaged in “drafting sessions.” During these sessions, understandings were reached
19 as to: (1) the strategy to best accomplish the IPO; (2) the terms of the IPO, including the price at
20 which Uber securities would be sold; (3) the language to be used in the Registration Statement;
   what disclosures about Uber would be made in the Registration Statement; and (4) what responses
21
   would be made to the SEC in connection with its review of the Registration Statement. As a result
22
   of those constant contacts and communications between the Underwriter Defendants’
23
   representatives and Uber’s management and top executives, the Underwriter Defendants knew of,
24
   or in the exercise of reasonable care should have known of, Uber’s existing problems as detailed
25 herein.
26           (d)    The Underwriter Defendants caused the Registration Statement to be filed with the
27 SEC and declared effective in connection with the offers and sales of securities registered thereby,
28 including those to Plaintiff and the other members of the Class.

                                                  - 12 -
                    Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS           Document 1       Filed 10/04/19     Page 13 of 20




            57.       Uber, the Individual Defendants, and the Underwriter Defendants are referred to
 1
     collectively as “Defendants.”
 2
                                      SUBSTANTIVE ALLEGATIONS
 3
             58.      The Registration Statement and Prospectus used by Defendants to effectuate
 4
     Uber's Offering was false and misleading in that it misled investors with regard to the
 5 Company's ballooning losses, stagnating growth rate, and cost-cutting measures that undercut
 6 its key growth initiatives, all of which were known to, but concealed by, Defendants at the
 7 time of the Offering.
 8           59.      The Offering Documents claimed that Uber had a number of significant
 9 opportunities to continue to grow its business, including "increasing Ridesharing and Uber
10 Eats category penetration in existing markets, expanding Ridesharing and Uber Eats into new
11 markets, increasing MAPCs and Trips per MAPC, investing in and expanding our New
     Mobility products, including dockless e-bikes and e-scooters, and investing in and expanding
12
     Uber Freight." Defendants also promised to continue to "invest in consumer and Driver
13
     rewards programs across our offerings.”
14
             60.      Central to these growth initiatives was Uber's desire and commitment (and
15
     need) to motivate drivers and consumers to use its platform at the expense of well-funded
16 alternatives in both the ridesharing and food delivery markets. The Offering Documents go on to
17 say:
18                “Generally, for a given geographic market, we believe that the operator with the larger
19                network will have a higher margin than the operator with the smaller network.
20                                                         ***

21                In addition to competing against ridesharing category participants, we also expect to
                  continue to use Driver incentives and consumer discounts and promotions to grow our
22
                  business relative to lower-priced alternatives, such as personal vehicle ownership, to
23
                  increase engagement, and to maintain balance between Driver supply and consumer
24
                  demand.
25
                                                           ***
26                We offer Driver incentives to encourage Driver activity on our Platform. For example,
27                we may offer incentives to Drivers based on the number of trips they complete in a
28                week. We believe that Drivers consider both earnings and incentives when choosing to

                                                    - 13 -
                      Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS          Document 1       Filed 10/04/19      Page 14 of 20




                use our platform. In some cases, the aggregate amount of earnings and incentives
 1
                received by a given Driver exceeds the Gross Bookings attributable to the Driver's trips,
 2
                which results in excess Driver incentives. We offer Driver incentives and Driver
 3
                referrals for both Ridesharing and Uber Eats.
 4
                                                           ***
 5              Excess Driver incentives are recorded in cost of revenue, exclusive of depreciation and
 6              amortization, and Driver referrals are recorded in sales and marketing expenses. These
 7              amounts largely depend on our business decisions based on market conditions. We
 8              include the impact of these amounts in Core Platform Adjusted Net Revenue to evaluate
 9              how increasing or decreasing incentives would impact our Core Platform top line

10              performance and the overall net financial activity between us and our customers, which
                ultimately impacts our Take Rate.”
11
        61.         The Offering Documents added:
12
                “When we enter a new city or launch a new Ridesharing product in a city, we aim to
13
                reach sufficient scale and liquidity rapidly to attract consumers to use our platform as an
14
                alternative to personal vehicle ownership and usage of other modes of transportation and
15              to achieve leadership in the ridesharing category. We can choose to use incentives, such
16              as promotions for Drivers and consumers, to attract platform users on both sides of our
17              network and increase engagement, which can result in a negative margin until we reach
18              sufficient scale to reduce incentives. Even after we reach efficient scale in a given
19              market, we may need to continue to use incentives to compete. In certain markets, other

20              operators may use incentives to attempt to mitigate the advantages of our more liquid
                network, and we will generally choose to match these incentives, even if it results in a
21
                negative margin, to compete effectively and grow our business.”
22
              62.   The foregoing statements were materially inaccurate, misleading, and/or
23
     incomplete because they failed to disclose, inter alia, that (1) at the time of the Offering,
24
     Uber was rapidly increasing subsidies for customer's rides and meals in a bid for market
25 share, which caused the Company's sales and marketing expenses to swell; and (2)
26 Defendants were cutting (or planned to cut) costs in key areas that undermined the Company's
27 central growth opportunities.
28            63.   Defendants were also required to disclose this material information in the

                                                  - 14 -
                    Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS         Document 1       Filed 10/04/19    Page 15 of 20




     Offering Documents. SEC Regulation S-K, 17 C.F.R. §229.303 ("Item 303"), required
 1
     disclosure of any known events or uncertainties that at the time of the Offering had caused, or
 2
     were reasonably likely to cause, material impact on Uber's future operating results and
 3
     prospects.
 4
             64.    Nevertheless, Defendants went forward with the Offering with the foregoing
 5 misrepresentations and omissions in the Offering Documents. With these misrepresentations
 6 and omissions, the Offering was extremely lucrative for Defendants, who raised more than $8
 7 billion in gross proceeds.
 8           65.    This influx of new capital, however, was insufficient to overcome the then-
 9 known, yet concealed, losses Uber was (and had already been) facing. Thus, on or about July
10 29, 2019, Defendants sought to reduce the Company's losses by announcing the termination of
11 400 workers on Uber's marketing team, representing about a third of the marketing team's
     global workforce of 1,200 people. This action stood in stark contrast to the Offering
12
     Documents' claim that Uber was, at the time of the Offering, "focused on optimizing our
13
     performance marketing spend.”
14
             66.    On this news, the Company's stock fell from $43.88 per share on July 29, 2019,
15
     to $42.59 per share on July 30,2019, before dropping further to close at $39.05 per share on
16 August 5, representing a 13.2% decline from the Offering Price.
17        67.     Then, to make matters worse, on August 8 and 9, 2019, respectively, Uber filed
18 a Form 8- K with press release and Form 10-Q, announcing its second quarter results for fiscal
19 2019, which revealed revenues of $3.16 billion and losses of $5.2 billion. Further, Uber
20 revealed that its ridesharing revenue only grew 2% and, significantly, that its sales and
21 marketing expenses for the three and six months ended June 30, 2019, increased by $507 million,
     or 70.9%, and $870 million, or 62.5%, respectively.
22
             68.    Defendants revealed that "the increase in our sales and marketing expenses
23
     were driven by increased Driver incentives and consumer discounts, promotions, refunds, and
24
     credits as we invest in our platform." Indeed, consumer discounts, promotions, refunds, and
25
     credits increased from $226 million and $495 million for the three and six months ended
26
     June 30, 2018, respectively, to $528 million and $1.1 billion for the three and six months
27 ended June 30, 2019, respectively, compared to $302 million and $621 million, in the same
28 periods in 2018.

                                                  - 15 -
                    Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS          Document 1      Filed 10/04/19     Page 16 of 20




             69.    The media was quick to point out the $5.2 billion in net losses. For example, in an
 1
     article published on TechCrunch, entitled "Uber lost more than $5B last quarter," the reporter made
 2
     the following observation:
 3
                   “$5.2 billion in net losses represents the company's largest-ever quarterly loss.
 4
                   Revenue, for its part, is up only 14% year-over-year, agitating concerns over slower-
 5                 than-ever growth. The company says a majority of 2Q losses are a result of stock-
 6                 based compensation expenses for employees following its May [Offering]. Stock
 7                 compensation aside, Uber still lost $1.3 billion, up 30% from Ql.
 8                 Analysts had expected losses per share of $3.12 versus Uber's $4.72.”
 9                 (Emphasis added.)

10           70.    Likewise, analysts voiced concern about how revenue in the quarter rose just
     14% to $3.17 billion, "badly missing estimates at $3.36 billion," and how the Company's
11
     "adjusted EBITDA loss more than doubled in the period, increasing 125% to $625 million,"
12
     which was a "sign that profitability is only getting further away.” (Emphasis added.)
13
             71.    Then, in early September 2019, the Company announced that it would be
14
     laying off 435 employees within its product and engineering divisions, representing
15
     around 8% of its global workforce.
16           72.    Since the IPO, and as a result of the disclosure of material adverse facts omitted
17 from Uber’s Registration Statement, Uber’s stock price has fallen substantially below its IPO price,
18 damaging Plaintiff and Class members.
19
                           PLAINTIFF’S CLASS ACTION ALLEGATIONS
20
            73.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
21
   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise
22 acquired the publicly traded securities of Uber pursuant and/or traceable to Uber’s Registration
23 Statement (defined below) issued in connection with Uber’s May 10, 2019 IPO (the “Class”); and
24 were damaged upon the revelation of the alleged corrective disclosures. Excluded from the Class
25 are Defendants herein, the officers and directors of the Company, at all relevant times, members of
26 their immediate families and their legal representatives, heirs, successors or assigns and any entity
27 in which Defendants have or had a controlling interest.
28

                                                  - 16 -
                    Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS            Document 1       Filed 10/04/19     Page 17 of 20




             74.     The members of the Class are so numerous that joinder of all members is
 1
     impracticable. While the exact number of Class members is unknown to Plaintiff at this time and
 2
     can only be ascertained through appropriate discovery, Plaintiff believes that there are at least
 3
     thousands of members in the proposed Class. Record owners and other members of the Class may
 4
     be identified from records maintained by Uber or its transfer agent and may be notified of the
 5 pendency of this action by mail, using the form of notice similar to that customarily used in
 6 securities class actions.
 7           75.     Plaintiff’s claims are typical of the claims of the members of the Class as all
 8 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal
 9 law that is complained of herein.
10           76.     Plaintiff will fairly and adequately protect the interests of the members of the Class
     and has retained counsel competent and experienced in class and securities litigation. Plaintiff has
11
     no interests antagonistic to or in conflict with those of the Class.
12
             77.     Common questions of law and fact exist as to all members of the Class and
13
     predominate over any questions solely affecting individual members of the Class. Among the
14
     questions of law and fact common to the Class are:
15           •       whether Defendants violated the Securities Act;
16           •       whether the Registration Statement contained false or misleading statements of
17                   material fact and omitted material information required to be stated therein; and,
18           •       to what extent the members of the Class have sustained damages and the proper
19                   measure of damages.

20           78.     A class action is superior to all other available methods for the fair and efficient
     adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
21
     damages suffered by individual Class members may be relatively small, the expense and burden of
22
     individual litigation make it impossible for members of the Class to individually redress the wrongs
23
     done to them. There will be no difficulty in the management of this action as a class action.
24
                                                     COUNT I
25
                    Violations of Section 11 of the Securities Act Against All Defendants
26
             79.     Plaintiff repeats and realleges each and every allegation contained above as if fully
27
     set forth herein.
28

                                                       - 17 -
                         Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS           Document 1      Filed 10/04/19      Page 18 of 20




             80.    This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on
 1
     behalf of the Class, against all Defendants.
 2
             81.    The Registration Statement contained untrue statements of material facts, omitted to
 3
     state other facts necessary to make the statements made not misleading, and omitted to state
 4
     material facts required to be stated therein.
 5           82.    Defendants are strictly liable to Plaintiff and the Class for the misstatements and
 6 omissions.
 7           83.    None of the Defendants named herein made a reasonable investigation or possessed
 8 reasonable grounds for the belief that the statements contained in the Registration Statement were
 9 true and without omissions of any material facts and were not misleading.
10           84.    By reason of the conduct herein alleged, each Defendant violated or controlled a
     person who violated §11 of the Securities Act.
11
             85.    Plaintiff acquired Uber securities pursuant to the Registration Statement.
12
             86.    At the time of their purchases of Uber securities, Plaintiff and other members of the
13
     Class were without knowledge of the facts concerning the wrongful conduct alleged herein and
14
     could not have reasonably discovered those facts prior to the disclosures herein.
15           87.    This claim is brought within one year after discovery of the untrue statements and/or
16 omissions in the Offering that should have been made and/or corrected through the exercise of
17 reasonable diligence, and within three years of the effective date of the Offering. It is therefore
18 timely.
19                                                   COUNT II
20
                               Violation of Section 20(a) of The Exchange Act
21                                    Against All Individual Defendants
22
             88.    Plaintiff incorporates all the foregoing by reference.
23
             89.    By means of the defective Prospectus, Defendants promoted, solicited, and sold Uber
24
     securities to Plaintiff and other members of the Class.
25
             90.    The Prospectus for the IPO contained untrue statements of material fact, and
26
     concealed and failed to disclose material facts, as detailed above. Defendants owed Plaintiff and the
27 other members of the Class who purchased Uber securities pursuant to the Prospectus the duty to
28 make a reasonable and diligent investigation of the statements contained in the Prospectus to ensure

                                                   - 18 -
                     Class Action Complaint for Violation of the Federal Securities Laws
         Case 3:19-cv-06361-RS         Document 1        Filed 10/04/19      Page 19 of 20




     that such statements were true and that there was no omission to state a material fact required to be
 1
     stated in order to make the statements contained therein not misleading. Defendants, in the exercise
 2
     of reasonable care, should have known of the misstatements and omissions contained in the
 3
     Prospectus as set forth above.
 4
             91.    Plaintiff did not know, nor in the exercise of reasonable diligence could Plaintiff
 5 have known, of the untruths and omissions contained in the Prospectus at the time Plaintiff acquired
 6 Uber securities.
 7           92.    By reason of the conduct alleged herein, Defendants violated §12(a)(2) of the
 8 Securities Act, 15 U.S.C. §77l(a)(2). As a direct and proximate result of such violations, Plaintiff
 9 and the other members of the Class who purchased Uber securities pursuant to the Prospectus
10 sustained substantial damages in connection with their purchases of the shares. Accordingly,
   Plaintiff and the other members of the Class who hold the securities issued pursuant to the
11
   Prospectus have the right to rescind and recover the consideration paid for their shares, and hereby
12
   tender their securities to Defendants sued herein. Class members who have sold their securities seek
13
   damages to the extent permitted by law.
14
           93.     This claim is brought within one year after discovery of the untrue statements and/or
15 omissions in the Offering that should have been made and/or corrected through the exercise of
16 reasonable diligence, and within three years of the effective date of the Offering. It is therefore
17 timely.
18                                                COUNT III
19           Violations of Section 15 of the Securities Act Against the Individual Defendants

20
             94.    Plaintiff incorporates all the foregoing by reference.
21
             95.    This cause of action is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77o
22
     against all Defendants except the Underwriter Defendants.
23
             96.    The Individual Defendants were controlling persons of Uber by virtue of their
24
     positions as directors or senior officers of Uber. The Individual Defendants each had a series of
25 direct and indirect business and personal relationships with other directors and officers and major
26 shareholders of Uber. The Company controlled the Individual Defendants and all of Uber’s
27 employees.
28

                                                   - 19 -
                     Class Action Complaint for Violation of the Federal Securities Laws
        Case 3:19-cv-06361-RS           Document 1       Filed 10/04/19      Page 20 of 20




             97.    Uber and the Individual Defendants were culpable participants in the violations of
 1
     §§11 and 12(a)(2) of the Securities Act as alleged above, based on their having signed or authorized
 2
     the signing of the Registration Statement and having otherwise participated in the process which
 3
     allowed the IPO to be successfully completed.
 4
             98.    This claim is brought within one year after discovery of the untrue statements and/or
 5 omissions in the Offering that should have been made and/or corrected through the exercise of
 6 reasonable diligence, and within three years of the effective date of the Offering. It is therefore
 7 timely.
 8                                         PRAYER FOR RELIEF
 9           WHEREFORE, Plaintiff demands judgment against Defendants as follows:
10           A.     Determining that the instant action may be maintained as a class action under Rule
11 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;
12           B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

13 of the acts and transactions alleged herein;
           C.      Awarding Plaintiff and the other members of the Class prejudgment and post-
14
   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and
15
           D.      Awarding such other and further relief as this Court may deem just and proper.
16
17
                                     DEMAND FOR TRIAL BY JURY
18           Plaintiff hereby demands a trial by jury.
19
20 Dated: October 4, 2019                          Respectfully submitted,
21
                                                   THE ROSEN LAW FIRM, P.A.
22
                                                   By: /s/ Laurence M. Rosen
23                                                 Laurence M. Rosen, Esq. (SBN 219683)
                                                   355 S. Grand Avenue, Suite 2450
24
                                                   Los Angeles, CA 90071
25                                                 Telephone: (213) 785-2610
                                                   Facsimile: (213) 226-4684
26                                                 Email: lrosen@rosenlegal.com
27
                                                   Counsel for Plaintiff
28

                                                   - 20 -
                     Class Action Complaint for Violation of the Federal Securities Laws
